                              NO.  07-10-0104-CR
                            IN THE COURT OF APPEALS
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                  AT AMARILLO
                                    PANEL B
                               JANUARY 12, 2011
                        _______________________________
                                 OSCAR HUERTA,
                                					Appellant
                                      v.
                              THE STATE OF TEXAS,
                                 					Appellee
                        _______________________________
                FROM THE 403RD DISTRICT COURT OF TRAVIS COUNTY;
             NO. D-1-DC-09-301111; HON. BRENDA KENNEDY, PRESIDING
                         _____________________________
                              Memorandum Opinion
                         _____________________________
Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
            Appellant, Oscar Huerta, appeals from convictions for aggravated sexual assault of a child, indecency with a child by contact and indecency with a child by exposure.  Through a single issue, he contends that his guilty plea was involuntary because the trial court failed to admonish him about the possibility of his deportation and his obligation to register as a sex offender.  The State concedes the former constitutes harmful and, therefore, reversible error but disputes the accuracy of the latter issue.  Given the State's concession and the evidence of record indicating that appellant was a Mexican national when he pled guilty to the various counts, we reverse the judgment and remand the cause.  See VanNortick v. State, 227 S.W.3d 706, 714 (Tex. Crim. App. 2007) (holding reversal appropriate when the record showed that the defendant was not a citizen at the time of his guilty plea).  Our disposition of the cause relieves us from having to address appellant's remaining argument.  

 							Brian Quinn
							Chief Justice
Do not publish.

